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                                 IN THE UNITED STATES DISTRICT COURT
                                 FOR THE NORTHERN DISTRICT OF TEXAS
                                          AMARILLO DIVISION

      AGUSTIN LUX MUS,

                    Plaintiff,

      v.                                                             2:23-CV-139-Z-BR

      SWIFT BEEF COMPANY,

                    Defendant.

                                                      NOTICE

               Before the Court is the parties’ Stipulation of Dismissal with Prejudice (“Stipulation”)

 (ECF No. 96), filed January 17, 2025. The Stipulation is a “stipulation of dismissal signed by all

 parties who have appeared.” FED. R. Civ. P. 41(a)(1)(A)(ii). “Except in special circumstances. . .

 a voluntary order of dismissal requested by both parties is effective upon filing and does not require

 the approval of the court.” Ramming v. Nat. Gas Pipeline Co. of Am., 390 F.3d 366, 369 n.1 (5th

 Cir. 2004). Thus, an order of this Court “approving the dismissal is of no consequence.” Meinecke

 v.        H & R Block of Hous., 66 F.3d 77, 82 (Sth Cir. 1995); see also Nat'l City Golf Fin. v. Scott, 899

 F.3d 412, 415-16 (Sth Cir. 2018) (“A stipulation of dismissal . . . strips the district court of subject-

 matter jurisdiction.”). Therefore, the Court DIRECTS             the Clerk of the Court to close the case.

 Plaintiff is barred from refiling any claims or causes of action against Defendant at a later date

 arising from the facts of this suit.

               The Court issues notice accordingly.

               January 2/, 2025


                                                               MATTHEW J. KACSMARYK
                                                               UNITED STATES DISTRICT JUDGE
